
718 S.E.2d 145 (2011)
Eddie L. HOLDEN, Employee
v.
BRICKEY ACOUSTICAL, INC., Employer,
State Farm Fire and Casualty Company, Carrier.
No. 226P11.
Supreme Court of North Carolina.
August 25, 2011.
Angela Bullard Fox, Jeffrey G. Scott, Charlotte, for Holden, Eddie L.
Michael C. Sigmon, Cary, for Brickey Acoustical, Inc., et al.

ORDER
Upon consideration of the petition filed on the 7th of June 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
